Case 6:18-cv-06542-I\/|AT Document 1-3 Filed 07/22/18 Page 1 of 3

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D.l\/l.><. OUT HERE LOOK|I\|G HEALTHYAND
FEE|_|NG GOOD

OCTOBER 6, 2017 | RE|GN

Rapper DMX Went to court Federal Court Thursclay to nnd out When his trial Will start for tax fraud.
The judge set Dl\/lX’s trail date to begin on February 5th, 2018.

D|\/IX is still in rehab fro drugs Where he Wi|! continue to get treatment for about another month accord-
ing to Tl\/IZ.

X said he is feeling good While leaving the courtroom but not only that he looks like he is feeling good and
eating good too!

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